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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------X                     11/2/2020


RAFAEL FOX, et al.,

                                            Plaintiffs,               19-CV-04650 (AJN) (SN)

                          -against-                                            ORDER

STARBUCKS CORP.,

                                            Defendant.

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SARAH NETBURN, United States Magistrate Judge:

         On October 30, 2020, the plaintiffs filed a motion to compel, and requested a discovery

conference. On that same day, the defendant filed a motion for sanctions against the plaintiffs.

Accordingly, a telephonic conference has been scheduled for November 10, 2020, at 3:00 p.m.,

in which to discuss both parties’ pending motions. At that time, the parties should call into the

Court’s dedicated teleconferencing line at (877) 402-9757, and enter Access Code 7938632,

followed by the pound (#) key. The parties may file any responsive letters no later than Friday,

November 6, 2020.

SO ORDERED.



DATED:           New York, New York
                 November 2, 2020
